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The Independent Order of Foresters (“Foresters”) - A Fraternal Benefit Society.

Vy
789 Don Mills Road, Toronto, Canada M3C 1T9 Foresters [
U.S. Mailing Address: P.O. Box 179, Buffalo, NY 14201-0179 1. 8008281540 _ foresters.com

The Independent Order of Foresters (“Foresters”)
Application for Individual Life Insurance

 

 

 

 

 

   
    

 
     

Proposed Insured
First name: Middle name: Last name: ® Male
Rigoberto Vinas O Female
treet addre 2 p Box,): ity: State: Zip:
REDACTED FL 33165

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Alternate phone # / Cell #: | Best time to call: | Date of birth (mmm/dd/yyyy): | State & Country of birth:
4:00 mie REDACTED Cuba

U.S. citizen? Primary language:

@® Yes ONho. If No, immigration status / type of Visa: ® English O Spanish
Type of Photo |.D. (used to verify identity):
® Driver's license State: FL O Passport O Other government ID:
Gocupation & cuties: O Fulltime © Parttime © Seasonal
Hours worked per week (past 6 months): Income (past 12 months): $46,000.00
Number of weeks worked in the past 12 months:

 

 

 

Foresters member?
Oyes ®No, applying for membership.

 

 

 

 

Secondary Addressee (Optional. To designate another person to receive notification of a possible lapse in coverage.)

 

 

 

First name: Middle name: Last name: O Male
O Female
Street address (cannot be a P.O. Box.): City: State: Zip:

 

 

 

 

 

 

Owner (Complete only if other than the proposed insured. If not completed the proposed insured is the owner. If a contingent owner
is to be named, use Contingent Owner/Other Payer Identification Form.)

 

 

 

 

 

 

 

 

 

 

Full legal name of Individual (First, Middle, Last), Organization, Charity, Business or Trust: Social security # / Tax I.D, #:
Street address (cannot be a P.O. Box.): City: State: Zip:
Relationship to the proposed insured: Email address (optional):

Phone #: If Trust, name of Trustee: If Trust, date of Trust agreement:
If Individual:

O Male Date of birth (mmm/dd/yyyy): | U.S. citizen?

O Female OyYes ONbo. If No, immigration status / type of Visa:

 

 

 

 

Foresters™ is the trade name and a trademark of The Independent Order of Foresters (“Foresters”).

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Beneficiary Information (Each beneficiary below is revocable. If, however, a beneficiary is to be irrevocable, insert the word

“irrevocable” next to the name of that beneficiary.)

 

Primary Beneficiary(ies)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

annuity certificate(s).

If “Yes”, to either question 1 or 2, complete the chart below. Also include information about Foresters life insurance or

Name, date of birth, and address (street, city, state, zip code) of each primary beneficiary. Relationship to %
proposed insured. | Share

Name: See Overflow Form Date of birth (mmm/dd/yyyy):

Address:

Name: Date of birth (mmm/dd/yyyy):

Address:

Name: Date of birth (mmm/dd/yyyy):

Address:

Contingent Beneficiary(ies)

Name, date of birth, and address (street, city, state, zip code) of each contingent beneficiary. Relationship to %
proposed insured. | Share

Name: See Overflow Form Date of birth (mmm/dd/yyyy):

Address:

Name: Date of birth (mmm/dd/yyyy):

Address:

Other Insurance

1. Is there another annuity or life insurance application pending for the proposed insured with Foresters or another insurer? | OQ yes ® No

2. Does the proposed insured currently have an annuity or life, accidental death, critical illness or disability income

insurance pending or in force? Oyes ® No

 

 

Name of Insurer

Annuity/Life
insurance $

Accidental
death $

Critical illness

Disability income
(per month) $

Issue

year or indicate
if pending

 

 

 

 

 

 

 

 

 

 

 

 

3. Has the proposed insured ever had an application for life, health, disability or critical illness insurance declined, rated or

modified? If “Yes”, provide date and reason Oyes ® No
4. Will coverage be discontinued, reduced or replaced, or premium payments stopped, on existing life insurance coverage or

an annuity, if the insurance applied for in this Application is issued (includes military group life insurance)? OvYes ® No

 

 

 

Complete required State and Foresters Replacement/Rollover/Surrender/Disclosure forms. Some states require replacement forms to be
completed even if existing insurance is to be kept in force. Check the State requirements as these would need to be satisfied before the
certificate can be issued. Include existing life insurance or annuities that will be, or are in the process of being, lapsed or surrendered,

and those completed within the past 13 months.

 

Children’s Questions (Complete only if applying for Children’s Term Coverage. For purposes of these questions, “diagnosed”,
“advised” and “treatment” mean by a licensed physician or medical practitioner.)

 

 

 

 

 

 

 

 

 

 

 

 

Name of child (First, Middle, Last) under 18 years old Gender Date of birth Height Weight Amount of
(must be a child of the proposed insured) (M or F) (mmm/dd/yyyy) (ft/in) (Ibs) coverage
in force
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5.

Has a child listed above:

a) Been diagnosed with, received treatment or medication for, or been placed under observation for, a disorder or disease?

b) Been advised to have a check up, consultation, medication, treatment, surgery, hospitalization, lab test or
diagnostic test (other than for Human Immunodeficiency Virus (HIV)) that has not yet been started or completed, or
the results of which are not yet known?

If “Yes”, to either question 5a or 5b, complete the chart below.

OyYes O No

OyYes O No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Question Name of child Diagnosis, date(s), treatment, Physician’s name, address and phone #
# present condition

Financial Questions

6. Is there currently an intention, or an arrangement, that all or part of the insurance applied for will be:
a) Paid for by borrowing, financing or receiving money or any other property? OyYes ® No
b) Transferred, assigned, sold or pledged? OYes ® No
If “Yes”, to either question 6a or 6b provide details.

7. Has the proposed insured, owner or a beneficiary arranged, been offered, or received, an inducement, fee or
compensation to buy, or pay for, the insurance applied for? If “Yes”, provide details. OYes ® No

 

 

For each “Yes” answer in the Lifestyle and Medical Questions sections additional information may be required. Completing the corresponding
questionnaire or, if no corresponding questionnaire is available, providing details in the Additional Information section may help speed up the
Underwriting process.

Lifestyle Questions (For purposes of these questions “you” and “your” mean the proposed insured.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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8. Have you ever used tobacco in any form, or another nicotine product? If “Yes”, specify: OYes ® No
Type used: Date last used:
If currently smoking, how many pack(s) per day?
9. Do you currently drink alcohol? If “Yes”, specify: OYes ® No
How many times per week? How many drinks per occasion?
10. Within the past 10 years have you:
a) Used marijuana, heroin, cocaine, a narcotic, a barbiturate, a hallucinogen or a controlled substance except as
prescribed by a licensed physician or medical practitioner? OYes ® No
b) Received or been advised to receive treatment or counseling, by a licensed physician or medical practitioner, to
discontinue or reduce the use of alcohol, non-prescribed or prescribed drugs? Oyes ® No
11. Have you received notice of deployment or are you currently deployed, on active duty with the Military or the Reserves? | OYes ® No
12. Have you, within the past 2 years, flown, or do you currently have plans to fly, in an aircraft as a student pilot,
licensed pilot or crew member within the next 2 years? Oyes ® No
13. Have you, within the past 2 years, engaged, or do you currently have plans to engage in motor vehicle or boat racing,
mountain or rock climbing, scuba diving, skydiving, ballooning, hang gliding or ultra light flying within the next 2 years? |O Yes ® No
14. Have you ever had your driver’s license suspended or revoked or within the past 5 years been convicted of or pled guilty
to more than 3 moving violations? If “Yes”, provide date, details and State where each occurred. OYes ® No
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15. Within the past 10 years have you:
a) Been convicted of driving while impaired or under the influence of alcohol or a drug? If “Yes”, specify:

Number of convictions: State where each conviction occurred:

 

Date of most recent conviction:
(mmm/dd/yyyy)

b) Been convicted of, pled guilty to, or are you currently on probation or incarcerated for, a felony? If “Yes”, provide date(s)
and reason(s).

 

 

 

OYes ® No

OvYes ® No

 

 

Medical Questions (For purposes of these questions “you” and “your” mean the proposed insured, “diagnosed”, “advised”,
“tested” and “treatment” mean by a licensed physician or medical practitioner. For each “Yes” answer, provide details in the

Additional Information section.)

 

16. a) Your: Height: Sft 6in Weight: 200Ibs

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

b) Have you had a weight change of 10 pounds or more, within the past 12 months? If “Yes”, specify: Oyes ® No
OGain OlLoss How many pounds?
Reason:
17. Date you last consulted a physician: See Overflow Form
Physician Name: See Overflow Form
Address: See Overflow Form
a) Reason(s): See Overflow Form
b) Were you advised that results of that consultation were within normal ranges? If “No”, provide details. ® Yes O No
18. Your Personal Physician(s), if different than question 17.
Name: Address: Phone #:
Name: Address: Phone #:
19. Within the past 5 years, have you consulted a physician other than identified in question 17 or 18, or a medical
practitioner, or been a clinic, hospital or emergency room patient? OyYes ® No
20. Are you presently taking prescription medication or under treatment? OYes ® No
21. Have you ever tested positive for exposure to the Human Immunodeficiency Virus (HIV) infection or been diagnosed as
having AIDS Related Complex (ARC) or Acquired Immune Deficiency Syndrome (AIDS) caused by the HIV infection or other OYes ® No
sickness or condition derived from such infection?
22. Do you, to the best of your knowledge and belief, have, alive or deceased, a parent or sibling diagnosed with or treated
for, prior to age 65, diabetes, heart attack, heart disease, stroke, cancer, polycystic kidney disease, Huntington’s Chorea,
Alzheimer’s, or other hereditary disorder? Oyes ® No
Details to “Yes” answers to question 22.
Age, if living Age, at death Details of condition / Cause of death
Father
Mother
Siblings
23. Within the past 5 years, have you:
a) Had or been advised to have a diagnostic test (other than for HIV) such as an EKG, CAT scan, MRI scan,
echocardiogram, angiogram, biopsy, or endoscopy? OYes ® No
b) Been advised to have a check up, consultation, medication, treatment, surgery, hospitalization, lab test or diagnostic
test (other than for HIV) that has not yet been started or completed, or the results of which are not yet known? OvYes ® No
Cc) Been unable to work at your regular job for more than 20 consecutive days or are you currently disabled? OyYes ® No
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24. Within the past 10 years, have you been diagnosed with, or received treatment or medication, tested positive or been

given medical advice for:
a) High blood pressure, coronary artery disease, heart murmur, chest pain, irregular heart beat, aneurysm, stroke,

Transient Ischemic Attack, circulatory surgery, a disease or disorder of the arteries or circulatory system or had a heart

attack or heart surgery? OYes ® No
b) Anemia, high cholesterol, swollen glands or a disease or disorder of the blood or lymphatic system? Oyes ® No
c) Cancer, tumor, polyp, cyst, melanoma, unexplained swelling or lump or a malignancy? Oyes ® No
d) Asthma, emphysema, Chronic Obstructive Pulmonary Disease (COPD), shortness of breath, chronic cough, sleep apnea,

or a disease or disorder of the respiratory system? Oyes ® No
e) Seizures, epilepsy, dementia, Alzheimer’s disease, paralysis, multiple sclerosis, Parkinson’s disease, or a disease or

disorder of the brain or nervous system? OYes ® No
f) Anxiety, depression, bi-polar disorder, schizophrenia, eating disorder, Post Traumatic Stress Disorder (PTSD) or a mental

health disorder? OyYes ® No
g) Blood or albumin in the urine or a disease or disorder of the prostate, bladder, kidney or genito-urinary organs? Oyes ® No
h) Diabetes, or a disease or disorder of the thyroid, pituitary, pancreas or endocrine system? Oyes ® No
i) Hepatitis, colitis, ileitis, gastritis, ulcer, Crohn’s disease or a disease or disorder of the digestive system? Oyes ® No
j) Arthritis, fibromyalgia, or a disease or disorder of the back, neck or musculoskeletal system? OyYes ® No
k) Lupus or a disease or disorder of the immune system (other than HIV) or connective tissue? OYes ® No

 

Additional Information (Explain all “Yes” answers from the Medical Questions section. For purposes of this section, “diagnosed”
and “treatment” mean by a licensed physician or medical practitioner.)

Question Include diagnosis, date first diagnosed, treatment, medications, medical facilities and physicians’ name, addresses,
# phone numbers (if different than question 18). Do not include information regarding treatment for HIV, AIDS or ARC.

 

 

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Payment Information and Authorization

The planned premium quoted may change following underwriting review.

 

Payer is:
® Proposed insured © Owner (if other than proposed insured) O Other (complete Contingent Owner/Other Payer Identification Form)

 

 

 

First premium payment to be made by:
® Pre-Authorized Check (PAC) O Check (payable to Foresters) © Other (complete Payment Form)

 

 

 

Subsequent premium payments to be made by:

 

 

 

 

® Pre-Authorized Check (PAC) O Direct Bill O Other (complete Payment Form)
Payment mode:
® Monthly (not available for direct bill) © Quarterly O Semi-annually O Annually

 

 

PAC banking information (including drafting first premium) to be taken from:
O Attached void check O Check submitted with this Application © Information completed below (if no check available)

 

 

Type of account: © Checking O Savings
Name of financial institution: TD Bank

Street address:

 

City: Westchester State: NY Zip:

Transit #: GZS Meete; REDACTED

 

 

 

PAC Authorization

The payer, by signing below, verifies that the payer is the account holder of the account identified in the PAC banking information section (above)
and is permitted to provide this authorization, and agrees that: 1) Foresters is authorized to draft deductions, under the PAC selections made
in the Payment Information and Authorization section (above), from that account or another account later identified or substituted by the payer.
2) The financial institution from which payments are to be drafted is authorized to treat each draft by Foresters as though it was made personally
by the payer. 3) Foresters reserves the right to determine when the first deduction and each subsequent deduction, if any, will be made and the
amount of each deduction according to the coverage(s) and certificate type issued. 4) This PAC plan is effective immediately and will continue
until terminated, which either the payer or Foresters may do at any time by written notice to the other.

This agreement must be signed by the bank account owner as his/her name appears on bank records for the account provided.

e-Signed by Rigoterto Vinas

X

 

Signature of payer

Conversion Notification

Foresters can process a check provided for payment as a check transaction or instead take the information from the check to make a one-time
electronic fund transfer from the account that the check relates to.

 

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Temporary Life Insurance Agreement (TIA) Questions
Has the proposed insured:

1. Within the past 24 months, had either an investigation or treatment, by a licensed physician or medical practitioner, for
chest pain, heart problem, stroke, or cancer, or been diagnosed, by a licensed physician or medical practitioner, as having | © yes ® No
ARC or AIDS?

2. Within the past 4 months, been admitted or been medically advised to be admitted to a hospital or other licensed health | Oyes No
care facility (other than for childbirth)?

3. Within the past 4 months, had surgery performed or recommended, had or been medically advised to have a medical test | O yes ® No
(other than for HIV) or investigation, that has not yet been started or completed, or the results of which are not yet known?

 

 

 

Temporary Life Insurance Agreement (TIA) Acknowledgement
Will the TIA be left with the owner?
O No. The owner acknowledges that there is no temporary insurance coverage in effect, even if first premium payment is provided or authorized.

 

X
(Owner’s initials)

® Yes. Complete the TIA and leave it with the owner.

First premium payment, in the amount of $ 477.00 , is provided or authorized by (select same method chosen in the
Payment Information and Authorization section):

® Pre-Authorized Check (PAC)
O Check
O Other (cannot be a transfer of funds from existing life insurance or annuity contract(s)).

Although the first payment amount shown above is subject to change following underwriting, this amount must be at least equal to the
monthly premium quoted for the insurance, including each rider, applied for in this Application.

 

 

 

Declarations and Agreements

“Application” means this Application for Individual Life Insurance and includes additional forms, if any, that are part of this Application. “/Me”
means individually each person identified in this Application as either the proposed insured or the owner, and the parent/legal guardian signing
this Application if the proposed insured is a juvenile.

|, as evidenced by my signature(s) in this Application, declare that: 1) | have reviewed this Application. 2) | was asked every question that applies
to me and provided the answers shown, in this Application, to these questions. 3) The statements, answers, and representations contained in this
Application are full, complete and true, to the best of my knowledge and belief.

| understand and agree that: 1) All statements made in this Application shall be representations and not warranties. 2) This Application, Foresters
Instruments of Incorporation and its Constitution now in force or subsequently amended shall form part of the insurance contract (defined as a
certificate and each rider attached to that certificate) issued, if any, by Foresters. 3) No person is authorized to advise me that any untrue or incomplete
answer or information is acceptable. 4) The answers, statements and representations contained in this Application will influence the assessment
and acceptance of this Application by Foresters. 5) A material misrepresentation, or untrue declaration, or failure to disclose all material facts, may,
subject to the Incontestability provision, result in loss of coverage or cancellation of the insurance contract. 6) Foresters will have no liability under
an insurance contract issued, if any, as a result of this Application until the date that insurance contract comes into effect, according to its terms, and
then only if (a) the first premium due, for that insurance contract, is provided in full on or before the delivery date of that insurance contract and is
honored by the financial institution from which it is to be collected, and (b) between the date this Application was signed and the date that insurance
contract comes into effect there is no event, no diagnosed change in health, or no change in the habits or circumstances of the proposed insured, or a
child if any, identified in this Application, that would require a change to an answer to a question in this Application. 7) Foresters may review, transfer
and otherwise use, information provided in this Application to offer and issue (including post issue administration), other insurance products to me. 8)
Before issuing an insurance contract, Foresters may require and obtain information about me to validate my identity.

| further understand and agree that: 1) Changes or corrections made to this Application by Foresters, if any, are ratified by the owner if the
insurance contract delivered, if any, is not returned during the cancellation period. Such changes or corrections may be made directly on this
Application or by an amendment to this Application. 2) No agent/producer, medical examiner or any other person, except Foresters Executive
Secretary or successor position, has power on behalf of Foresters to make, modify, or discharge an insurance contract. 3) This Application and
related documents may be completed, signed and/or submitted to Foresters by voice and/or electronic means and if completed in paper form this
original Application may be destroyed after confirmation of successful transmission. 4) Foresters may contact or send messages to me, including
pre-recorded and text messages and calls or messages by use of an automatic telephone dialing system, using the phone number(s), including
wireless number(s), either provided in this Application or number(s) that I later provide. 5) If | have chosen to provide an email address in this
Application or choose to provide one in the future, Foresters may use that address to send messages or documents to me electronically.

 

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Authorization To Obtain And Disclose Information

This authorization is for the purpose of (a) assessing insurance coverage eligibility and premium amounts, (b) adjudicating claims, (c) supporting
The Independent Order of Foresters (“Foresters”) business operations and (d) record keeping and future servicing by authorized persons. In this
authorization, “proposed insured”, “owner” and “parent/legal guardian” mean each person identified as such in this Application. “Child” means
every child named, if any, and proposed for insurance, in this Application. “Authorized persons” means reinsurers, insurance agents and agencies
and those performing services in relation to an application for insurance, insurance product, benefit claim or supporting Foresters business
operations. As evidenced by the signature(s) in the Signature Section of this Application, the proposed insured and owner, on their behalf and
on behalf of each child, or the parentlegal guardian on behalf of the proposed insured if the proposed insured is a juvenile, authorizes Foresters
and authorized persons to obtain an investigative consumer report and/or information about him/her from any: physician, medical practitioner,
hospital, clinic, or medical facility; employer; insurer or institution; consumer reporting agency; pharmacy, pharmacy benefits manager or other
pharmacy related services organization; or MIB, Inc. (“MIB”). This includes obtaining records or other information available as to: past, current
or future diagnosis, treatment and prognosis of a physical or mental condition; past, current or future drug, physical and mental health, and
alcohol-related information that may be protected by federal or state laws and regulations. Information may be disclosed: between and among
Foresters and authorized persons; to companies to which the proposed insured has or may apply to for insurance coverage or benefits; as
required or permitted by law. The proposed insured, and owner, on their behalf and on behalf of each child, or the parent/legal guardian on behalf
of the proposed insured if the proposed insured is a juvenile, authorizes Foresters and authorized persons, to make a brief report of the proposed
insured’s and each child’s personal and/or protected health information to MIB, even if this application is cancelled or withdrawn. Obtained or
disclosed information may no longer be protected by federal privacy laws. This authorization is valid for two years from the date of this Application.
A copy of this authorization shall be as valid as the original. Each person signing this authorization may at any time, by written notice to Foresters,
revoke their authorization, except that reporting to MIB and action(s) begun before receipt of notice will not be affected. A Notices page has been
provided to the proposed insured. It includes the MIB and Fair Credit Reporting Notices. A copy of this authorization will be provided upon request.

Signature Section (For purposes of entire Application.)
Any person who knowingly and with intent to injure, defraud, or deceive, any insurer files a statement of claim or an application
containing any false, incomplete, or misleading information is guilty of a felony of the third degree.

Proposed insured’s signature: X *_* *8"°? 9 Btgetrto Vinas

(If the proposed insured is not a juvenile.)

 

 

Owner's signature: X
(If other than proposed insured.)
on Jan 12, 2015

(State) (mmm/dd/yyyy)

The owner or the proposed insured, if the proposed insured is the owner, signed in rt

Parent/Legal guardian’s name (print full name):
(If the proposed insured is a juvenile and the owner is not a parent/legal guardian.)

 

Parent/Legal guardian’s signature: X

 

Agent/Producer Certification

Unless specifically stated otherwise in the Producer Report, | certify each of the following: a) | am not aware of undisclosed information about
the health, habits or lifestyle of the proposed insured or a child, identified in this Application, that might affect insurability; b) | personally met
with the proposed insured, owner and each child and reviewed the document(s) used to verify identity and birth date; c) | asked the proposed
insured, the parent/legal guardian if the proposed insured is a juvenile, and/or the owner each question as written in this Application to which
an answer is shown, and recorded the answers as given to me by each person; d) This Application was reviewed by each person signing in the
Signature Section before it was signed by that person; e) This Application has not been altered in any way after the proposed insured, the parent/
legal guardian if the proposed insured is a juvenile, and owner signed it; f) | complied with applicable regulatory requirements including those
relating to the solicitation and sale of life insurance to active duty members of the United States military; g) If applicable, | have disclosed that this
Application, if completed in paper form, may be transmitted to Foresters by electronic means and that this original Application may be destroyed
after confirmation of successful transmission; h) | have made no misrepresentation(s) about Foresters product(s) applied for in this Application.
| have made no promise(s) regarding the benefit(s) or future performance of the product(s) applied for, other than as specifically written in the
specific product(s) applied for in this Application.

Will the certificate applied for be a replacement for or change existing life insurance or an annuity? OYes ®No
Are you related to the proposed insured? OyYes @®No

Agent/Producer’s name name (print full name): Jazmin Lightbourn

 

 

 

 

Agent/Producer #: 8249321 Florida license identification #: W169801

Agent/Producer’s signature: X_¢-S igned ty J azmin Lightourn Date: Jan 12, 2015
(mmm/dd/yyyy)

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